                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION
                          CRIMINAL DOCKET NO. 5:08cr28-5-RLV
                                     (5:12CV156-RLV)

UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                                   SCHEDULING ORDER
                                 )
TRACY BERNARD REDFEAR            )
                                 )
           Defendants.           )
________________________________)


          THIS MATTER is before the Court on the Judgment filed by the Clerk of Court,1

in accordance with the Court’s Order, filed on April 4, 2013.2

          IT IS, THEREFORE, ORDERED THAT:

          1)      This matter is hereby scheduled for re-sentencing on Monday, August 5,

                  2013, at 10 AM, in the United States Courthouse, 200 West Broad Street,

                  2nd floor Courtroom, Statesville, North Carolina; and

          2)      A copy of this Order shall be sent to the Defendant, Defense Counsel,

                  United States Attorney, United States Marshal Service, United States

                  Probation Office.
                                                       Signed: July 8, 2013




1
    The Judgment was filed by the Clerk on April 4, 2013.
2
    Defendant filed a Motion to Vacate, Set Aside, or Correct Sentence filed under 28 U. S. C. § 2255, in




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case 5:12CV156, (Doc. No. 1) on October 15, 2012, which the Court granted.




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